     Case 3:23-cv-02674-S Document 2 Filed 12/04/23                  Page 1 of 14 PageID 3



                      UNITED STATES DISTRICT COURT FOR THE
                             NORTHERN DISTRICT OF TEXAS



 ROBERT SWINEY, individually and on behalf Case No.
 of all others similarly situated,
                                           NATIONWIDE
                         Plaintiff,
                                           CLASS ACTION COMPLAINT
          v.


 FRITZ MANAGEMENT, LLC and DOES 1 to
 25,

                        Defendants.



                       NATIONWIDE CLASS ACTION COMPLAINT

       COMES NOW, Plaintiff ROBERT SWINEY (“Plaintiff” or “Mr. Swiney”) on behalf of

himself and all others similarly situated, and asserts as follows:

                                        INTRODUCTION

       1.      Plaintiff, a person with a mobility disability who uses a wheelchair for mobility,

brings this action individually and on behalf of all others similarly situated against Defendants

Fritz Management, LLC and DOES 1 through 25 (collectively, “Defendants”), asserting violations

of Title III of the Americans with Disabilities Act, 42 U.S.C. § 12101 et seq. (the “ADA”), and its

implementing regulations. Defendants collectively own, lease, and/or operate at least one-hundred

and forty-one (141) Burger King restaurants in the state of Texas. Plaintiff’s claims arise from his

own experience with excessive sloping conditions in purportedly accessible parking spaces, access

aisles, and curb ramps (“Parking Area” or “Parking Areas”) at places of public accommodation
     Case 3:23-cv-02674-S Document 2 Filed 12/04/23                   Page 2 of 14 PageID 4



owned, operated, controlled, and/or leased by Defendants (“Defendants’ facilities”), and from site

investigations at seven (7) of Defendants’ facilities also finding excessive sloping conditions.

       2.      Plaintiff asserts that these excessive sloping conditions persist in part as a result of

Defendants’ existing but inadequate internal maintenance procedures, which fail to ensure

compliance with the sloping requirements of the ADA's implementing regulations. See 28 C.F.R.

§§ 36.101 et seq.

       3.      The ADA expressly authorizes the injunctive relief aimed at modification of

existing policies, practices, or procedures that Plaintiff seeks in this action. In relevant part, the

ADA states:

       In the case of violations of . . . this title, injunctive relief shall include an order to
       alter facilities to make such facilities readily accessible to and usable by individuals
       with disabilities. … Where appropriate, injunctive relief shall also include requiring
       the . . . modification of a policy…

       42 U.S.C. § 12188(a)(2).

       4.      Based on the extensive factual investigation performed by Plaintiff’s investigators,

he believes and therefore asserts that numerous additional facilities owned, controlled, and/or

operated by Defendants have Parking Areas that are, or have become, inaccessible to individuals

who rely on wheelchairs for mobility due to excessive sloping demonstrate that Defendants’

existing internal maintenance procedure (discussed at ¶¶ 18-27 below) is inadequate and must be

modified. 42 U.S.C. § 12188(a)(2).

       5.      Plaintiff brings this action individually and on behalf of all other similarly situated

wheelchair users to compel Defendants to (i) remediate all access barriers within the Parking Areas

of their facilities, and (ii) modify their existing policies to ensure that their facilities comply with

the ADA’s implementing regulations’ excessive sloping requirements. 28 C.F.R. §§ 36.101 et seq.




                                                   2
     Case 3:23-cv-02674-S Document 2 Filed 12/04/23                      Page 3 of 14 PageID 5



          6.      Consistent with 42 U.S.C. § 12188(a)(2), Plaintiff seeks a permanent injunction

requiring that:

          a. Defendants remediate excessive sloping within the Parking Areas at Defendants’
             facilities, consistent with the ADA’s implementing regulations;

          b. Defendants modify their existing policies, practices and/or procedures to ensure
             that the excessive sloping conditions within the Parking Areas at Defendants’
             facilities do not reoccur; and

          c. Plaintiff's representatives shall monitor Defendants' facilities to ensure that the
             injunctive relief ordered pursuant to Paragraph 6.a. and 6.b. has been
             implemented and will remain in place.

          7.      Plaintiff’s claims for permanent injunctive relief are asserted as class claims

pursuant to Fed. R. Civ. P. 23(b)(2). Rule 23(b)(2) was specifically intended to be utilized in civil

rights cases where the Plaintiff seeks injunctive relief for his or his own benefit and the benefit of

a class of similarly situated individuals. To that end, the note to the 1996 amendment to Rule 23

states:

          Subdivision(b)(2). This subdivision is intended to reach situations where a party
          has taken action or refused to take action with respect to a class, and final relief of
          an injunctive nature or a corresponding declaratory nature, settling the legality of
          the behavior with respect to the class as a whole, is appropriate . . .. Illustrative are
          various actions in the civil rights field where a party is charged with discriminating
          unlawfully against a class, usually one whose members are incapable of specific
          enumeration.

                                                PARTIES

          8.      Plaintiff Robert Swiney is, and at all times relevant hereto was, a resident of

Heath, Texas. Plaintiff is a person with a mobility disability stemming from a car accident that

resulted in compression fractures to Mr. Swiney’s L1 and L2 lumbar vertebrae. As a result of his

disability, Plaintiff uses a wheelchair for mobility. Despite his significant injuries, Mr. Swiney

likes to stay active and often travels to different areas around the state.




                                                     3
    Case 3:23-cv-02674-S Document 2 Filed 12/04/23                 Page 4 of 14 PageID 6



       9.      Plaintiff is therefore a member of a protected class under the ADA, 42 U.S.C. §

12102(2), and the regulations implementing the ADA set forth at 28 C.F.R. §§ 36.101 et seq.

       10.     Defendant Fritz Management, LLC is, and at all times relevant hereto has been, a

Texas corporation, doing business in Texas as the owner, lessee, and/or operator of dozens of

Burger King restaurants. Defendant Fritz Management, LLC’s principal place of business is

located at 4515 Lyndon B Johnson Freeway, Dallas, Texas, 75244-5905.

       11.     The true names and capacities, whether individual, corporate, associate, or

otherwise of the Defendants named herein as DOES 1 through 25, are unknown to Plaintiff at this

time. Plaintiff will amend this Complaint to assert their true names and capacities when known.

Plaintiff is informed and believes, and thereon alleges, that each of the fictitiously named

Defendants is responsible in some manner for the occurrences alleged in this Complaint.

       12.     Plaintiff asserts that Defendants, including DOE Defendants, and each of them at

all times mentioned in this Complaint were the alter egos, affiliates, agents and/or employees

and/or employers of their Co-Defendants, under shared management, ownership, and common

control of each other, and part of a single franchise group, and in doing the things alleged in this

Complaint were acting within the course of such agency, affiliation, shared management,

ownership, control, and/or employment and with the permission and consent of their Co-

Defendants.

       13.     Plaintiff is further informed and believes, and based thereon alleges, that

Defendants collectively own, lease, and/or operate one-hundred and forty-one (141) Burger King

restaurants in the state of Texas as described herein.

       14.     Defendants’ facilities are places of public accommodation as defined in 42 U.S.C.

§12181(7) and are therefore subject to the requirements of the ADA.




                                                 4
     Case 3:23-cv-02674-S Document 2 Filed 12/04/23                     Page 5 of 14 PageID 7



                                       FACTUAL ASSERTIONS

              Plaintiff Has Been Denied Full and Equal Access to Defendants’ Facilities

        15.        Plaintiff visited Defendants’ facilities located at 3500 Matlock Road, Arlington,

Texas, on October 9, 2023, where he experienced unnecessary difficulty and risk of physical harm

exiting and entering his vehicle and navigating the facilities. Mr. Swiney needed to exercise extra

care to avoid falling and to safely traverse the area, due to excessive slopes in the purportedly

accessible Parking Areas, as set forth in more detail below.

        16.        Despite this difficulty and risk, Plaintiff plans to return to Defendants’ facilities.

Plaintiff often travels to the area for a variety of reasons. On October 9, 2023, Mr. Swiney traveled

to the area for his work. Mr. Swiney would regularly travel to the area as part of his job was to sell

across North Texas. In addition, Mr. Swiney regularly visits Fort Worth and has to drive through

the area to get to Fort Worth. Plaintiff intends to visit Defendants’ facilities at least once a month

to stop for a snack or lunch when he is on the road. Furthermore, he intends to return to Defendants’

facility to ascertain whether it remains in violation of the ADA.

        17.        As a result of Defendants’ non-compliance with the ADA, Plaintiff’s ability to

access and safely use Defendants’ facilities has been significantly impeded and he will be deterred

from returning to and fully and safely accessing Defendants’ facilities due to the discrimination he

has previously encountered there.

                          Defendants Repeatedly Deny Individuals with Disabilities

                               Full and Equal Access to Defendants’ Facilities

        18.        As the owner and/or operator of their facilities, Defendants employ centralized

policies, practices, or procedures with regard to the alteration, maintenance, and operation of their

facilities.




                                                     5
     Case 3:23-cv-02674-S Document 2 Filed 12/04/23               Page 6 of 14 PageID 8



       19.     Plaintiff is informed and believes, and based thereon alleges, that as Burger King

franchisee pursuant to franchise agreements, Defendants utilize an Operations Manual (the “OPS

Manual”) that is part of the full Manual of Operating Data issued by the franchisor when the

franchise disclosure document (“FDD”) is signed. The Burger King FDD that Defendants are

subject to is similar, if not identical, to a previous version found publicly at

https://www.restfinance.com/app/pdf/fdd/Burger-King-2021.pdf. It is Plaintiff’s belief that the

611 Manual contains the franchisee’s obligations regarding the required standards and

specifications and the franchisee agrees to comply with the Manual. FDD, p.59. While the Manual

is not available publicly, the FDD provides the Table of Contents. FDD, p. 898-904.

       20.     Pursuant to the FDD, Defendants are provided with the Manual and all the

accompanying materials, that provide the standards that the franchisee is required to follow—

containing “[y]ou must operate the Restaurant in strict conformity with the methods, standards and

specifications as we prescribe in the MOD Manual or otherwise in writing...” FDD, p.75.

Specifically, the FDD states, in relevant part:

       A.      M.O.D. Manual

       Franchisee acknowledges and agrees that prompt adoption of and adherence to the
       BURGER KING System, including all of the provisions of the MOD Manual, as
       amended from time to time, are reasonable, necessary and essential to the image
       and success of all BURGER KING Restaurants.

                                                  ...

       Franchisee acknowledges that the MOD Manual is designed to protect BKC’s
       standards, the BURGER KING System, and the BURGER KING Marks, and not
       to control the day-to-day operation of the Franchised Restaurant.

FDD, p. 180.




                                                  6
    Case 3:23-cv-02674-S Document 2 Filed 12/04/23                 Page 7 of 14 PageID 9



       21.     Pursuant to the FDD, Defendants are required to maintain the Restaurant buildings’

interior and exterior in compliance with the maintenance policies, practices, and procedures related

to “Repairs and Maintenance.” The FDD states:

       Lessee shall also put, keep and maintain in good repair and free from dirt, snow, ice,
       rubbish and other obstructions or encumbrances, the sidewalks, parking areas, yards,
       plantings, gutters and curbs in front of and adjacent to the Building.

FDD, p. 331, § 5.2. The FDD states in Item 1: “There are other laws and regulations applicable to

businesses generally (such as the Americans with Disabilities Act) with which you must comply.”

       22.     When making alterations to their facility, Defendants are also required to “comply

with (i) the requirements of Title III of the Americans With Disabilities Act of 1990 (“ADA”) as

same may be amended from time to time; (ii) the Americans With Disabilities Act Accessibility

Guidelines 1991 (“ADAAG”) as same may be amended from time to time which is a part of the

ADA; (iii) the 2010 ADA Standards . . .” FDD, p. 332, § 5.3. Defendants have the same

requirements for the completion of construction work: “the Architect shall inspect the Remodeled

Restaurant and complete the Burger King® 2004 ADAAG Checklist V1.2 (which is currently

under revision to reflect the 2010 ADA Standards), and complete a certificate of inspection, on a

form to be provided by Lessor, certifying that the Remodeled Restaurant is in compliance with

Title III of the ADA, the ADAAG, the 2010 ADA Standards and the Codes.” FDD, p. 357.

       23.     Defendants are provided with an express instruction when “refreshing” their

facilities. The FDD mandates Defendant to: “[b]ring exterior into compliance with all federal, state

and local rules and regulations, including the Americans With Disabilities Act.” FDD, p. 865,

Exhibit A.

       24.     Defendants are also required to enter into lease agreements containing specific

terms setting forth, among other things, Defendants’ obligations to comply with the requirements

of the ADA and the regulations promulgated thereunder, and to maintain, repair, and/or replace


                                                 7
    Case 3:23-cv-02674-S Document 2 Filed 12/04/23                 Page 8 of 14 PageID 10



the parking lot, curbs, driveways, and sidewalks on the leased property. Plaintiff is further

informed and believes, and based thereon alleges, that Defendants have entered into sale-leaseback

agreements at several restaurants that are “absolute NNN” or “zero NNN” in nature—for a period

of twenty years—meaning the lessee has absolute responsibility for maintaining all the features of

the property and the landlord has no responsibility for such maintenance.

       25.     The FDD requires Defendants to complete extensive training where Defendants

must designate a “Managing Director.” The FDD states, “[y]ou must designate an individual

(which can be you) as Managing Director, who must be approved by us, must complete our training

program and must personally direct the "on premises" day-to-day operations of the franchised

Restaurant(s) . . .” FDD, p. 73. Further, “[g]enerally, one of the conditions for Entity ownership is

that one or more individuals or entities designated as “Owners” guarantee and be responsible for

the Franchisee’s obligations to us.” Id. The FDD also mandates the owner to attend the Franchise

Orientation before opening or acquiring a Restaurant.

       26.     Due to the high number of locations and geographic distances, Defendants manage

compliance with their centralized policies, practices, or procedures concerning their daily outside

maintenance obligations, and obligations to maintain, repair, and/or replace features within their

Parking Areas, through a head of operations of regions, who supervises vice presidents of regions,

who in turn directly supervise district or general managers, and then individual restaurant

managers. Plaintiff is informed and believes that these positions collectively constitute the

“Managing Director” charged with overseeing operations of Defendants’ restaurants for

compliance with Burger King policies through regular and complete inspections of Defendants’

restaurants.




                                                 8
     Case 3:23-cv-02674-S Document 2 Filed 12/04/23                            Page 9 of 14 PageID 11



         27.      Defendants’ centralized maintenance and operational policies, practices, or

procedures have systematically and routinely resulted in excessive sloping conditions in the

Parking Areas of Defendants’ facilities, in violation of the ADA and its implementing regulations.

         28.      On Plaintiff’s behalf, investigators examined multiple locations that Plaintiff is

informed and believes are owned, controlled, and/or operated by Defendants, and found the

following violations which are illustrative of the fact the Defendants’ existing policies, practices,

or procedures are discriminatory, unreasonable, inadequate, and routinely result in excessive

sloping conditions in the parking spaces, accessible routes and curb ramps:


         a. 977 North Burleson Boulevard, Burleson, Texas

                            i. The purportedly accessible curb ramp projected into an access aisle.

         b. 3500 Matlock Road, Arlington, Texas

                            i. The purportedly accessible landing at the top of the curb ramp to the
                               building had a flare slope exceeding 10.0% 1.

         c. 1313 South Highway 121, Lewisville, Texas

                            i. The purportedly accessible landing at the top of the curb ramp to the
                               building had a flare slope exceeding 10.0%.

         d. 8725 Preston Road, Frisco, Texas

                            i. The purportedly accessible curb ramp projected into an access aisle.

         e. 11404 East Northwest Highway, Dallas, Texas

                            i. The purportedly accessible curb ramp projected into an access aisle.

         f. 200 North Jefferson Avenue, Mount Pleasant, Texas

                            i. The purportedly accessible curb ramp projected into an access aisle.

         g. 3151 Matlock Road, Mansfield, Texas


1
 The 2010 Standards at §§ 405.2 and 406.1 set the maximum threshold for ramp running slopes at not steeper than
1:12, i.e., 8.3%, and limit curb ramp flares to not steeper than 1:10, i.e., 10%. The 2010 Standards continued the 1991
Standards without change. See, Appendix D to 28 C.F.R. Part 36, § 4.7.5, §4.8.2.


                                                          9
   Case 3:23-cv-02674-S Document 2 Filed 12/04/23                  Page 10 of 14 PageID 12



                         i. The purportedly accessible curb ramp projected into an access aisle.

        29.     As evidenced by the widespread excessive sloping conditions present in the Parking

Areas of Defendants’ facilities, absent a change in Defendants’ existing policies, practices and/or

procedures, excessive sloping conditions will continue to reoccur in Defendants’ facilities even

after they have been remediated.
                               JURISDICTION AND VENUE

        30.     This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 and 42

U.S.C. § 12188.

        31.     Plaintiff’s claims asserted herein arose in this judicial district, and Defendants do

substantial business in this judicial district.

        32.     Venue in this judicial district is proper under 28 U.S.C. § 1391(b)(2) in that this is

the judicial district in which a substantial part of the events and/or omissions at issue occurred.

                                       CLASS ASSERTIONS

        33.     Plaintiff brings this class action pursuant to Fed. R. Civ. P. 23(a) and 23(b)(2) on

behalf of himself and the following nationwide class:

        All wheelchair users with qualified mobility disabilities who encountered
        accessibility barriers within the Parking Areas of any Fritz Management LLC and
        DOES 1 to 25 location.

        34.     Numerosity: The class described above is so numerous that joinder of all individual

members in one action would be impracticable. The disposition of the individual claims of the

respective class members through this class action will benefit both the parties and this Court and

will facilitate judicial economy.

        35.     Typicality: Plaintiff’s claims are typical of the claims of the members of the class.

The claims of Plaintiff and members of the class are based on the same legal theories and arise

from the same unlawful conduct.



                                                  10
   Case 3:23-cv-02674-S Document 2 Filed 12/04/23                  Page 11 of 14 PageID 13



       36.     Common Questions of Fact and Law: There is a well-defined community of interest

and common questions of fact and law affecting members of the class in that they all have been

and/or are being denied their civil rights to full and equal access to, and use and enjoyment of,

Defendants’ facilities and/or services due to Defendants’ failure to make their facilities fully

accessible and independently usable as above described.

       37.     Adequacy of Representation: Plaintiff is an adequate representative of the class

because his interests do not conflict with the interests of the class members. Plaintiff will fairly,

adequately, and vigorously represent and protect the interests of the members of the class, and he

has no interests antagonistic to the members of the class. Plaintiff has retained counsel who are

competent and experienced in the prosecution of class action litigation, generally, and who possess

specific expertise in the context of class litigation under the ADA.

       38.     Class certification is appropriate pursuant to Fed. R. Civ. P. 23(b)(2) because

Defendants have acted or refused to act on grounds generally applicable to the class, making

appropriate both declaratory and injunctive relief with respect to Plaintiff and the class as a whole.

                                 SUBSTANTIVE VIOLATION

                            VIOLATION OF THE ADA, TITLE III

                                   [42 U.S.C. §§ 12101, et seq.]

                                     (Against all Defendants)

       39.     Plaintiff restates each and every allegation set forth in the foregoing paragraphs of

this Complaint with the same force and effect as if more fully set forth herein.

       40.     At all times relevant to this action, Plaintiff has been substantially limited in the

major life activity of mobility. Accordingly, he is an individual with a disability defined by the

ADA, 42 U.S.C. § 12102(2).




                                                 11
   Case 3:23-cv-02674-S Document 2 Filed 12/04/23                   Page 12 of 14 PageID 14



       41.       Defendants own, lease, and/or operate restaurants that are places of public

accommodation as defined under Title III of the ADA. 42 U.S.C. § 12181(7)(F).

       42.       Plaintiff is informed and believes, and based thereon asserts, that Defendants’

facilities were altered, designed, or constructed after the effective date of the ADA.

       43.       The ADA and the franchise agreements require the accessible features of

Defendants’ facilities, which include Parking Areas of their facilities, to be maintained so that they

are readily accessible to and usable by individuals with mobility disabilities.

       44.       The architectural barriers described above demonstrate that Defendants’ facilities

were not constructed or altered in a manner that caused them to be readily accessible to and usable

by individuals who use wheelchairs in the first instance and/or after that were not maintained or

operated to ensure that they remained accessible to and usable by individuals who use wheelchairs.

       45.       Furthermore, the architectural barriers described above demonstrate that

Defendants have failed to remove barriers as required by 42 U.S.C. § 12182(b)(2)(A)(iv).

       46.       Defendants repeated and systemic failures to remove architectural barriers, to

maintain the accessible features of their facilities, and/or modify their existing procedures to ensure

compliance with the sloping requirements of the ADA's implementing regulations once

constructed constitute unlawful discrimination on the basis of a disability in violation of Title III

of the ADA.

       47.       Defendants' conduct is ongoing and continuous, and Defendants' conduct has

harmed Plaintiff.

       48.       Unless Defendants are restrained from continuing their ongoing and continuous

course of conduct, Defendants will continue to violate the ADA and inflict injury upon Plaintiff

and the class.




                                                  12
   Case 3:23-cv-02674-S Document 2 Filed 12/04/23                 Page 13 of 14 PageID 15



       49.     Given that Defendants have not complied with the ADA’s requirements to make

Defendants’ facilities fully accessible to, and independently usable by, individuals who use

wheelchairs, Plaintiff invokes his statutory rights to declaratory and prospective injunctive relief,

as well as costs and attorneys’ fees.

                    PRAYER FOR DECLARATORY JUDGMENT AND
                        PROSPECTIVE INJUNCTIVE RELIEF

       WHEREFORE, Plaintiff, on behalf of himself and the members of the Class, prays for:

       a.      A declaratory judgment that Defendants are in violation of the specific
               requirements of Title III of the ADA described above, and the relevant
               implementing regulations of the ADA, in that Defendants’ facilities, as described
               above, are not fully accessible to, and independently usable by, individuals who use
               wheelchairs;

       b.      A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 C.F.R. §
               36.501(b) that (i) directs Defendants to take all steps necessary to remove the
               architectural barriers described above and to bring their facilities into full
               compliance with the requirements set forth in the ADA, and its implementing
               regulations, so that the facilities are fully accessible to, and independently usable
               by, individuals who use wheelchairs; (ii) directs Defendants to modify their
               existing policies, practices and/or procedures to prevent the reoccurrence of
               excessive sloping conditions in the Parking Areas of their facilities post-
               remediation; and (iii) directs that Plaintiff shall monitor Defendants’ facilities to
               ensure that the injunctive relief ordered above remains in place.

       c.      An Order certifying the class proposed by Plaintiff, naming Plaintiff as class
               representative, and appointing his counsel as class counsel;

       d.      Payment of costs of suit;

       e.      Payment of reasonable attorneys’ fees pursuant to 42 U.S.C. § 12205 and 28 C.F.R.
               § 36.505; and

       f.      The provision of whatever other relief the Court deems just, equitable, and
               appropriate.


Dated: December 4, 2023                               Respectfully Submitted,

                                                      /s/ Benjamin J. Sweet
                                                      Benjamin J. Sweet



                                                 13
Case 3:23-cv-02674-S Document 2 Filed 12/04/23     Page 14 of 14 PageID 16



                                       NYE, STIRLING, HALE, MILLER &
                                       SWEET, LLP
                                       1145 Bower Hill Road, Suite 104
                                       Pittsburgh, PA 15243
                                       Phone: 412-857-5350
                                       ben@nshmlaw.com


                                       Jordan T. Porter
                                       NYE, STIRLING, HALE, MILLER &
                                       SWEET, LLP
                                       33 West Mission Street, Suite 201
                                       Santa Barbara, CA 93101
                                       Phone: 805-963-2345
                                       jordan@nshmlaw.com


                                       Attorneys for Plaintiff and the Class

                                       /s/John. D. Bosco
                                       BOSCO BLESS PLLC
                                       State Bar No. 24045533
                                       4034 Bishop Lane
                                       Dallas, Texas 75244
                                       Phone: (214) 997-4434
                                       john@boscobless.com

                                       Counsel for Plaintiff




                                  14
